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NOT FOR PUBLICATION

                                                      UNITED STATES DISTRICT COURT
                                                         DISTRICT OF NEW JERSEY
                                                             CAMDEN VICINAGE

________________________
                                                                 :
RONALD IAN BOATWRIGHT,                                           :
                                                                 :         Civ. No. 17-4220 (RMB)
                             Petitioner,                         :
                                                                 :
              v.                                                 :              OPINION
                                                                 :
                                                                 :
WARDEN D. LEU,                                                   :
                                                                 :
          Respondent.                                            :
________________________                                         :


BUMB, United States District Judge

              On June 12, 2017, Petitioner, a prisoner confined in FCI

Fairton, in Fairton, New Jersey, filed a Petition for Writ of

Habeas Corpus pursuant to 28 U.S.C. § 2241. (Pet., ECF No. 1;

Mem. of Law in Supp. of Pet. (“Petr’s Mem.”), ECF No. 1-2.)

Petitioner asserts that jurisdiction is proper under 28 U.S.C. §

2241 because 28 U.S.C. § 2255 is inadequate or ineffective to

test the legality of his detention.                                       (Petr’s Mem., ECF No. 1-2

at 1-2.)                          Petitioner relies on Mathis v. United States, 136

S.Ct. 2243 (2016)1 and Holt v. United States, 843 F.3d 720 (7th



                                                            
1
  In Mathis, the Supreme Court held that a state                                          crime cannot
qualify as an ACCA predicate if its elements are                                          broader than
those of a listed generic offense, and there is no                                        exception in
cases where the defendant is convicted under a                                            statute that


 
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Cir. 2016)2, concluding that his prior convictions do not qualify

him as a career offender under the ACCA, 18 U.S.C. § 924(e), and

that he should be resentenced.                                                               (Id. at 2.)

              Pursuant to Rule 4 of the Rules Governing Section 2254

Cases in the United States District Courts, applicable to § 2241

under Rule 1, the scope of the rules, a district judge must

promptly examine a petition, and “[i]f it plainly appears from

the petition and any attached exhibits that the petitioner is

not entitled to relief in the district court, the judge must

dismiss                   the            petition                      and            direct                  the            Clerk                to          notify                  the

petitioner.”                               For the reasons discussed below, the Court lacks

jurisdiction under § 2241.

I.            BACKGROUND

              On July 16, 2012, Petitioner entered a guilty plea, in the

United States District Court, Middle District of Pennsylvania,

to          charges                    of           Conspiracy                          to          Distribute                          Cocaine                    Base,                 in

violation of 21 U.S.C. § 846.                                                                  (Petr’s Mem., ECF No. 1-2 at 2-

3.)              He was sentenced to a 110-month term of imprisonment, a
                                                                                                                                                                                                
lists multiple, alternative means of satisfying one or more of
its elements.
2
  In Holt v. United States, the Seventh Circuit Court of Appeals
noted   the   Government  had   conceded   that  Mathis  applied
retroactively on collateral review under § 2255.     843 F.3d at
721.   However, because the Supreme Court has not held that
Mathis is retroactive to cases on collateral review, the Seventh
Circuit held that a second or successive collateral attack under
§ 2255(h)(2) is not permissible.      Id. at 722.    The Seventh
Circuit did not consider whether Holt could pursue his claim
under § 2241 in the district of confinement. Id. at 724.
                                                                                              2 
 
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three-year term of supervised release, and a fine.                          (Id. at 3.)

        According       to    Petitioner’s          presentence       report,       prepared

under     the    2011    edition        of   the     Guidelines       Manual,    his      base

offense     level      was    28.       (Id.   at        5-6.)    Petitioner’s      adjusted

offense level was 28, and he was considered a career offender

because he was at least 18 years old at the time of the instant

offense, his instant offense was a felony controlled substance

offense,        and     Petitioner       had        at     least    two     prior     felony

convictions       for    either     a    crime      of     violence    or   a   controlled

substance offense.            (Id. at 6.)

        As a career offender, his adjusted offense level was 32,

pursuant to U.S.S.G. § 4B1.1(b)(3).                        (Petr’s Mem., ECF No. 1-2

at 6.)      Petitioner received a two-level reduction for acceptance

of    responsibility,         bringing       his     total       offense    level    to   30.

(Id.)       His       eight   criminal       history       points     placed    him    in   a

Category IV criminal history category, but as a career offender,

he was bumped up to Category VI.                          (Id.)     This resulted in a

custody range of 168 to 210 months, and the plea agreement was

for a sentence between 100 to 120 months imprisonment.                                 (Id.)

Petitioner objected to the PSR, but he did not file a direct

appeal of the sentence, nor did he file a motion to vacate, set

aside or correct sentence under 28 U.S.C. § 2255.                           (Id. at 6-7);




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U.S. v. Boatwright, 11cr252-WWC-1, (M.D. Pa).3

II.           DISCUSSION

              Before the Court can reach the issue of whether Petitioner

is a career offender under the framework of the Mathis decision,

the Court must determine whether § 2241 is the proper vehicle

for Petitioner’s challenge.                                                  “[A] federal prisoner's first (and

most often only) route for collateral review of his conviction

or sentence is under § 2255.”                                                       Bruce v. Warden Lewisburg USP,

No. 14-4284, 2017 WL 3597705, at *4 (3d Cir. Aug. 22, 2017).

Congress, however, provided a saving clause in § 2255(e):                                                               “a

federal prisoner may resort to § 2241 only if he can establish

that            ‘the             remedy                 by      motion       [under     §   2255]    is    inadequate    or

ineffective                           to         test           the     legality       of   his     detention.’”        Id.

(citations omitted.)

              Here, Petitioner has never filed a motion under 28 U.S.C. §

2255.                    Although                     there        is    a    one-year      statute       of   limitations

period to file such a motion, the limitation period does not

begin to run until the latest of certain events, one of which is

“the date on which the right asserted was initially recognized

by the Supreme Court, if that right has been newly recognized by

the Supreme Court and made retroactively applicable to cases on

collateral review.”                                            28 U.S.C. § 2255(f)(3).
                                                            
3
  See PACER case locator, available at
https://pcl.uscourts.gov/search


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        If indeed the Third Circuit Court of Appeals determines

that the Supreme Court in Mathis recognized a new right and that

it is retroactive on collateral review, Petitioner is not barred

by the statute of limitations from bringing his claim under §

2255.     Under those conditions, § 2255 would not be an inadequate

and ineffective remedy to bring a Mathis claim.                       But even if

Plaintiff     is    ultimately    barred    from    bringing    a    Mathis       claim

under the statute of limitations, § 2255 is not inadequate and

ineffective        solely   because    a     petitioner       cannot       meet     the

gatekeeping requirements of § 2255.                 See Cradle v. Miner, 290

F.3d 536, 538 (3d Cir. 2002) (“Section 2255 is not inadequate or

ineffective        merely   because    ...     the        one-year     statute       of

limitations        has   expired.”)          Furthermore,       the        Dorsainvil

exception, permitting jurisdiction under § 2241 where § 2255 is

inadequate or ineffective to bring a claim that the conduct for

which    a   petitioner     was   convicted    is    no    longer    criminal,       is

inapplicable        where   the    prisoner        challenges        his    sentence

enhancement.        See Sorrell v. Bledsoe, 437 F. App’x 94, 96 (3d

Cir. 2011).

III. CONCLUSION

        For these reasons, this Court lacks jurisdiction over the §

2241 petition because § 2255 is not an inadequate or ineffective

remedy for Petitioner’s claim.             Petitioner is not precluded from

bringing this claim in a § 2255 motion in his sentencing court.

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An appropriate order follows.

Dated: October 17, 2017

                                    s/Renée Marie Bumb
                                    RENÉE MARIE BUMB
                                    United States District Judge




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